                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2022-NCCOA-163

                                        No. COA20-873

                                     Filed 15 March 2022

     Moore County, No. 18 CRS 52027; 19 CRS 52656

     STATE OF NORTH CAROLINA

                   v.

     CONNOR ORION BRADLEY, Defendant.


             Appeal by Defendant from judgments entered 29 July 2020 by Judge James M.

     Webb in Moore County Superior Court. Heard in the Court of Appeals 7 September

     2021.


             Attorney General Joshua H. Stein, by Assistant Attorney General Ebony J.
             Pittman, for the State.

             Stephen G. Driggers, for Defendant-Appellant.


             WOOD, Judge.


¶1           Defendant Connor Orion Bradley (“Defendant”) appeals two judgments

     revoking his probation.    On appeal, Defendant argues the trial court erred by

     revoking his probation based on the findings he (1) possessed Schedule II and

     Schedule IV controlled substances and (2) maintained a place for a controlled

     substance. For the reasons stated herein, we affirm the trial court’s revocation of

     Defendant’s probation.
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                                        Opinion of the Court



                       I.    Factual and Procedural Background

¶2         On September 5, 2019, Defendant entered a guilty plea to one count of indecent

     liberties with a child in 18 CRS 052027. The trial court sentenced Defendant to a

     term of 16 to 29 months in confinement, suspended the sentence, and placed

     Defendant on 30 months of supervised probation.

¶3         On September 30, 2019, Defendant’s probation officer, Ilissa Epps, filed a

     probation violation report. In the report, Epps attested under oath

                  1. The Defendant committed the offense of driving while
                  his . . . license was revoked . . . . The Defendant also
                  committed the criminal offenses of driving a vehicle with
                  no registration, no inspection, and [fictitious title /
                  registration card and tag] . . . .

                  2. The Defendant committed the criminal offense of failure
                  to register his address within 3 business days of change of
                  address. . . . This is in violation of . . . [N.C. Gen. Stat. §]
                  14-208.9(A).

¶4         On November 6, 2019, Defendant entered another guilty plea to one count of

     failing to register his new address as a sex-offender in file number 19 CRS 052656.

     That same day, the trial court entered an order finding Defendant had violated the

     terms and conditions of his probation as set out in the violation report. Defendant

     was sentenced to an intermediate punishment of 38 days in prison and was given

     credit for 38 days served. Also, on November 6, 2019, the trial court entered judgment

     against Defendant sentencing him to 17 to 30 months in confinement. The trial court

     suspended this sentence and placed Defendant on 30 months of supervised probation
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     under the same conditions set forth in 18 CRS 052027.

¶5         After Defendant was placed on probation for failure to register his address as

     a sex offender, he submitted to a risk assessment.       The risk assessment found

     Defendant to be a “high risk offender.” As a result, the Division of Community

     Corrections amended the conditions of Defendant’s probation by requiring he submit

     to a curfew and wear an electronic monitoring device.

¶6         Less than five months after Defendant’s probation began, Epps once again filed

     a probation violation report in each case. The violation report for 18 CRS 052027

     alleged Defendant had 1) failed to pay any money since being placed on probation, 2)

     failed to pay any supervision fees since being placed on probation, and 3) committed

     the criminal offense of possession with the intent to deliver a schedule IV controlled

     substance, maintaining a place for a controlled substance, simple possession of a

     scheduled II controlled substance, and simple possession of a schedule IV controlled

     substance. The violation report for 19 CRS 052656 alleged Defendant 1) failed to pay

     any money since being placed on probation and 2) committed the criminal offense of

     possession with the intent to deliver a schedule IV controlled substance, maintaining

     a place for a controlled substance, simple possession of a scheduled II controlled

     substance, and simple possession of a schedule IV controlled substance.

¶7         The trial court held a hearing on these violation reports on July 29, 2020. At

     the hearing, Defendant denied he had “knowingly and willfully and without legal
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       justification violated the terms and conditions of his probation.”

¶8           The State presented evidence which tended to show the following: On March

       19, 2020, Amanda Gooch (“Gooch”) was driving her grandmother’s vehicle in which

       Defendant was a passenger in the front passenger seat. While driving, Gooch was

       pulled over by Officer McKenzie for careless and reckless driving. Officer McKenzie

       then conducted a traffic stop during which time Corporal Faulk and Officer Lucas

       arrived. Corporal Faulk walked up to the vehicle, retrieved Gooch’s driver’s license,

       and ran the vehicle’s registration.      Upon observing Defendant to be moving

       excessively in the passenger seat while the traffic stop was ongoing, Officer Lucas

       pulled Defendant out of the vehicle. The officers next asked Gooch and Defendant for

       permission to search the vehicle but were denied consent.

¶9           An officer then shined his flashlight into the vehicle’s passenger side and

       observed a plastic container with marijuana on the floorboard. A search of the vehicle

       ensued. The officers additionally discovered Alprazolam (Xanax) and Oxycodone

       inside the glove box and Clonazepam, a glass marijuana pipe, and one Cigarillo in

       the center console. Defendant denied owning any of these substances and alleged the

       substances belonged to Gooch. Gooch at first claimed all the substances belonged to

       herself; then claimed the substances belonged to nobody; and thereafter claimed half

       of the substances belonged to herself and the other half belonged to Defendant.

¶ 10         Defendant remained outside of the vehicle while the search was conducted.
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       Corporal Faulk testified that during the search Defendant appeared “unsteady on his

       feet” and was “falling in and out.” Due to Defendant’s appearance and conduct, the

       officers called Emergency Medical Services to treat Defendant. Defendant refused

       medical treatment; and, furthermore, at no point was a blood test performed on

       Defendant to determine what substance, if any, caused Defendant’s appearance of

       impairment.

¶ 11         After conducting a hearing on the probation violations, the trial court revoked

       Defendant’s probation for 18 CRS 052027 and 19 CRS 052656 by written judgments

       entered July 29, 2020. Defendant gave oral notice of appeal in open court at the

       hearing.

                                       II.     Discussion

¶ 12         In North Carolina, a court may revoke a defendant’s probation when the

       defendant commits a criminal offense in any jurisdiction in violation of N.C. Gen.

       Stat. § 15A-1343(b)(1); violates a condition of his probation when the defendant has

       previously “received a total of two periods of confinement” under N.C. Gen. Stat. §

       15A-1344(d2) (2021); or “absconds by willfully avoiding supervision or willfully

       making the defendant’s whereabouts unknown to the supervising probation officer”

       in violation of N.C. Gen. Stat. § 15A-1343(b)(3a) (2021). N.C. Gen. Stat. § 15A-1344(a)

       (2021). Upon revocation of probation, the sentence the defendant “may be required

       to serve is the punishment for the crime of which he had previously been found
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       guilty.” State v. Hewett, 270 N.C. 348, 352, 154 S.E.2d 476, 479 (1967) rev’d on other

       grounds, Hewett v. North Carolina, 415 F.2d 1316 (1969).

¶ 13         In reviewing a trial court’s decision to revoke a defendant’s probation, we

       review for abuse of discretion. State v. Murchison, 367 N.C. 461, 464, 758 S.E.2d 356,

       358 (2014). An abuse of discretion occurs when “a ruling ‘is manifestly unsupported

       by reason or is so arbitrary that it could not have been the result of a reasoned

       decision.’ ” State v. Maness, 363 N.C. 261, 279, 677 S.E.2d 796, 808 (2009) (quoting

       State v. Peterson, 361 N.C. 587, 602, 652 S.E.2d 216, 227 (2007)). Generally, “when

       judgment is suspended in a criminal action upon good behavior or other conditions,

       the proceedings to ascertain whether or not the conditions have been violated are

       addressed to the sound discretion of the judge . . . .” State v. Guffey, 253 N.C. 43, 45,

       116 S.E.2d 148, 150 (1960).

¶ 14         Although Defendant would have us find “substantial evidence” is the standard

       for evidence in a probation hearing, our Supreme Court established in State v. Guffey

       the evidentiary standard in a probation hearing is “competent evidence.” Id., 253

       N.C. at 45, 116 S.E.2d at 150 (citations omitted); see Hewett, 270 N.C. at 353, 154

       S.E.2d at 480 (“[T]he alleged violation of a valid condition of probation need not be

       proven beyond a reasonable doubt.”).        Competent evidence is evidence that is

       admissible or otherwise relevant. Competent Evidence BLACK’S LAW DICTIONARY (7th

       ed. 1999)).
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                                          Opinion of the Court



       A. Competent Evidence to Support a Judgment of Simple Possession

¶ 15         Defendant first contends the evidence was insufficient for the trial court to find

       he possessed Oxycodone, Xanax, and Clonazepam. We disagree.

¶ 16         “Possession of any item may be actual or constructive.” State v. Alston, 131

       N.C. App. 514, 519, 508 S.E.2d 315, 318 (1998), superseded by statute on other

       grounds, Act of Aug. 12, 2004, ch. 186, 2004 N.C. Sess. Laws 186; see State v. Perry,

       316 N.C. 87, 96, 340 S.E.2d 450, 456 (1986) (stating when a defendant is prosecuted

       for contraband “the prosecution is not required to prove actual physical possession of

       the materials[,]” rather, “[p]roof of constructive possession is sufficient and that

       possession need not always be exclusive” ); see also See State v. Harvey, 281 N.C. 1,

       187 S.E.2d 706 (1972); State v. Fuqua, 234 N.C. 168, 66 S.E.2d 667 (1951). Actual

       possession occurs when the party has “physical or personal custody of the item.”

       Alston, 131 N.C App. at 519, 508 S.E.2d at 318. Constructive possession occurs when

       the accused “has both the power and intent to control its disposition or use.” Harvey,

       281 N.C. at 12, 187 S.E.2d at 714 (1972); see Alston, 131 N.C. App. at 519, 508 S.E.2d

       at 318. Circumstances which are sufficient to support a finding of constructive

       possession include “close proximity to the controlled substance and conduct indicating

       an awareness of the drugs, such as efforts at concealment or behavior suggesting a

       fear of discovery . . . .” State v. Turner, 168 N.C. App. 152, 156, 607 S.E.2d 19, 22-23
       (2005).
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¶ 17         In State v. Turner, our Supreme Court held there was sufficient evidence for

       constructive possession when the defendant appeared agitated and nervous, his

       hands were jumbling around, and he appeared to be passing a tube back and forth

       underneath a blanket. Id. The tube was discovered to contain cocaine and though

       the defendant denied possession of the tube and did not have exclusive control over

       the premises, our Supreme Court held that a totality of the circumstances constituted

       “sufficient evidence of constructive possession of cocaine.” Id. at 154-57, 607 S.E.2d

       at 21-23.

¶ 18         Here, the trial court found Defendant was in simple possession of Oxycodone,

       Xanax, and Clonazepam from the evidence presented at the hearing. The State’s

       evidence tended to show Gooch was pulled over for careless and reckless driving and

       Defendant was seated in the passenger side of the vehicle. While Officer McKenzie

       was conducting the traffic stop, Defendant, like the defendant in Turner, exhibited

       behavior suggesting his fear of discovery of the drugs therein because he continued

       to move “a lot . . . in the passenger side.” Indeed, Defendant’s movement was to the

       extent that Corporal Faulk ultimately had to remove Defendant from the vehicle. A

       search ensued when an officer observed marijuana in a clear container on the

       floorboard of the passenger side. The fruits of this search showed Defendant was in

       “close proximity to the controlled substance” as a pill bottle containing Xanax,

       Oxycodone, and Clonazepam was found inside the glove box located directly in front
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                                         Opinion of the Court



       of the passenger’s seat. Id. at 156, 607 S.E.2d at 22.

¶ 19         In addition to Defendant being in “close proximity to the controlled substance”

       and exhibiting “behavior suggesting a fear of discovery[,]” Defendant also showed

       obvious signs of impairment. Id. at 156, 607 S.E.2d at 22-23. Corporal Faulk stated

       Defendant was “unsteady on his feet” and “falling in and out” while standing outside

       of the vehicle.   Due to concerns for Defendant because of the signs of obvious

       impairment, Emergency Medical Services were called “to come check him out[] [and]

       make sure he did not need to go to the hospital.” Notably, most of the State’s evidence

       was admitted by the trial court without objection from Defendant.

¶ 20         In light of the evidence presented by the State, we find competent evidence

       existed to support the trial court’s finding of simple possession of a controlled

       substance. As such, the trial court’s activation of Defendant’s previously suspended

       sentences “are not reviewable on appeal, unless there is a manifest abuse of

       discretion.” Guffey, 253 N.C. at 45, 116 S.E.2d at 150; see Pelley, 221 N.C. 487, 500,

       20 S.E.2d 850, 858 (1942). There is no evidence of abuse of discretion by the trial

       court in this proceeding. We therefore hold the trial court did not err by revoking

       Defendant’s probation based upon its finding that Defendant committed the offense

       of simple possession of Oxycodone, Xanax, and Clonazepam while on probation.

¶ 21         While our dissenting colleague correctly identifies that a finding of

       constructive possession requires more than a defendant merely being present within
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       a vehicle in which drugs are found, State v. Ferguson, 204 N.C. App. 451, 459-60, 694

       S.E.2d 470, 477 (2010), other incriminating circumstances existed in the case sub

       judice to support the trial court’s finding that Defendant violated the terms of his

       probations by committing the offenses of possessing a schedule II and IV substance.

       See id. (“As a general rule, mere proximity to persons or locations with drugs about

       them is usually insufficient, in the absence of other incriminating circumstances, to

       convict for possession.” (internal quotation marks omitted)).

       B. Competent Evidence of Maintaining a Vehicle for Sale of a Controlled
          Substance

¶ 22         Defendant next argues there was no substantial evidence to support the trial

       court’s finding Defendant willfully maintained a vehicle for the sale of a controlled

       substance. We agree, but hold this error was not prejudicial.

¶ 23         Section 90-108(a)(7) of our general statutes states, in relevant parts,

                    [i]t shall be unlawful for any person . . . [t]o knowingly keep
                    or maintain any . . . vehicle . . . which is resorted to by
                    persons using controlled substances . . . for the purpose of
                    using such substances, or which is used for the keeping or
                    selling of the same . . . .

¶ 24         N.C. Gen. Stat. § 90-108(a)(7) (2021). The word “keep” in Section 90-108(a)(7)

       “refers to possessing something for at least a short period of time—or intending to

       retain possession of something in the future—for a certain use.” State v. Rogers, 371

       N.C. 397, 402, 817 S.E.2d 150, 154 (2018). When determining if a defendant kept a
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       vehicle, the “focus of the inquiry is on the use, not the contents, of the vehicle.” State

       v. Mitchell, 336 N.C. 22, 34, 442 S.E.2d 24, 30 (1994), overruled in part by State v.

       Rogers, 371 N.C. 397, 817 S.E.2d 150 (2018). “Maintain” as used in Section 90-

       108(a)(7) means to “bear the expense of; carry on . . . hold or keep in an existing state

       or condition.” State v. Allen, 102 N.C. App. 598, 608, 403 S.E.2d 907, 913 (1991)

       (quoting Black’s Law Dictionary 859 (5th ed. 1979)), rev’d on other grounds, 332 N.C.

       123, 418 S.E.2d 225 (1992).

¶ 25         Although the definitions of “keep” and “maintain” differ, “they do not describe

       separate offenses[] . . . [and are] often used interchangeably . . . .” State v. Weldy, 271

       N.C. App. 788, 791, 844 S.E.2d 357, 361 (2020). When deciding if a defendant violated

       Section 90-108(a)(7), this court looks to circumstances such as “defendant’s use of the

       vehicle, title to or ownership of the vehicle, property interest in the vehicle, payment

       toward the purchase of the vehicle, and payment for repairs to or maintenance of the

       vehicle.” Id.; see also State v. Alvarez, 260 N.C. App. 571, 575, 818 S.E.2d 178, 182
       (2018).

¶ 26         In this case, the violation reports purported, amongst other allegations,

       Defendant had committed the criminal offense of “maintaining a place for a controlled

       substance.” At the hearing, Corporal Faulk’s testimony tended to show Gooch was

       pulled over for careless and reckless driving, Defendant was merely Gooch’s

       passenger, and that the vehicle belonged to neither Gooch nor Defendant, but rather
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                                          2022-NCCOA-163

                                         Opinion of the Court



       belonged to Gooch’s grandmother. The State presented no competent evidence that

       Defendant possessed any ownership interest in the vehicle, paid for any expenses in

       connection with the vehicle, or used the vehicle aside from this instance where he was

       a passenger. Accordingly, no evidence supports the trial court’s finding Defendant

       violated a condition of his probation by “maintaining a place for a controlled

       substance.”

¶ 27         However, the absence of competent evidence to support the trial court’s finding

       Defendant maintained a place for a controlled substance does not necessarily mean

       the trial court abused its discretion by revoking Defendant’s probation. The plain

       text of N.C. Gen. Stat. § 15A-1343 states the “defendant must[] [c]ommit no criminal

       offense.” N.C. Gen. Stat. § 15A-1343(b)(1) (2021). The word “offense” in Section 15A-

       1343 is singular, denoting a singular new criminal offense is sufficient to revoke

       probation. See N.C. Gen. Stat. § 15A-1344(a) (2021); see also State v. Coltrane, 307

       N.C. 511, 516, 299 S.E.2d 199, 202 (1983) (“The evidence in a probation revocation

       hearing must satisfy the court that defendant has willfully or without lawful excuse

       violated a condition of probation.” (emphasis omitted)).

¶ 28         The trial court is not required under the language of N.C. Gen. Stat. § 15A-

       1344(a) and N.C. Gen. Stat. § 15A-1343(b)(1) to find more than one new criminal

       offense exists in order to revoke a defendant’s probation. Here, the trial court found

       Defendant committed multiple probation violations. In its judgment revoking
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                                         Opinion of the Court



       Defendant’s probation for 18 CRS 052027, the trial court found Defendant violated

       his probation by failing to pay any money since being placed on probation; failing to

       pay any supervision fees; possessing with the intent to deliver a schedule IV

       substance; maintaining a place for a controlled substance; and simple possession of a

       schedule II and IV substance.     Likewise, in its judgment revoking Defendant’s

       probation for 19 CRS 052656, the trial court found Defendant violated his probation

       by failing to pay any money since being placed on probation; possessing with the

       intent to deliver a schedule IV substance; maintaining a place for a controlled

       substance; and simple possession of a schedule II and IV substance.

¶ 29         As discussed supra, sufficient competent evidence existed to support the trial

       court’s finding that Defendant committed the criminal offense of simple possession of

       a controlled substance. Thus, despite the lack of competent evidence that Defendant

       maintained a vehicle for sale of a controlled substance, the trial court did not abuse

       its discretion by revoking Defendant’s probation and activating his suspended

       sentences.

                                      III.     Conclusion

¶ 30         After a careful review of the record and applicable law, we hold the trial court

       did not abuse its discretion by revoking Defendant’s probation and activating his

       sentences. Accordingly, the judgments of the trial court are affirmed.

             AFFIRMED.
                        STATE V. BRADLEY

                         2022-NCCOA-163

                        Opinion of the Court



Judge GORE concurs.

Judge HAMPSON dissents by separate opinion.
        No. COA20-873 – State v. Bradley


             HAMPSON, Judge, dissenting.


¶ 31         The majority correctly concludes no evidence supports the trial court’s Finding

       Defendant violated a condition of his probation by “maintaining a place for a

       controlled substance.” However, the evidence in this case is also insufficient to

       establish Defendant violated a condition of his probation by committing the criminal

       offense(s) of simple possession of Schedule II and IV controlled substances. Thus, the

       evidence does not support the trial court’s determination Defendant willfully violated

       the condition of his probation that Defendant not commit any criminal offense as

       alleged in the violation report(s). Therefore, the trial court abused its discretion in

       revoking Defendant’s probation on this basis.        Consequently, the trial court’s

       Judgments revoking Defendant’s probation should be reversed.            Accordingly, I

       dissent.

                                                 I.

¶ 32          It is important to first make clear the criminal offense(s) Defendant was

       alleged to have committed and what offense was not alleged. Defendant was alleged

       to be in simple possession of Schedule II and IV controlled substances. These offenses

       apparently correspond to the pill bottle containing alprazolam (Schedule IV), the

       oxycodone pill (Schedule II), and the clonazepam (Schedule IV) pill found in the glove

       box of the car. See N.C. Gen. Stat. § 90-90(1)(13) (listing oxycodone in Schedule II);

       N.C. Gen. Stat. § 90-92(a)(1)(a),(i) (listing alprazolam and clonazepam in Schedule

       IV). Defendant was not alleged to have been in possession of the marijuana found on
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                                         HAMPSON, J., dissenting



       the passenger side floorboard.1 See N.C. Gen. Stat. § 90-94(1) (listing marijuana in

       Schedule VI).

¶ 33          The fact Defendant was not alleged to have committed the offense of possession

       of the marijuana is significant. This is because the State hinged much of its case—if

       not the majority—on the marijuana. Indeed, after the conclusion of the evidence, the

       State’s argument in full heavily relied on the marijuana:

                 Your Honor, I believe Corporal Faulk testified that there was
                 what is believed to be marijuana in the passenger floorboard
                 where Mr. Bradley was seated. Furthermore, that he was
                 unsteady on his feet, and they were concerned for him such that
                 they called EMS, despite the fact that he refused EMS.

                 Additionally that there were controlled substances in the glove
                 box, that while Ms. Gooch went back and forth about whether or
                 not it was hers, she did implicate that some of them were the
                 defendant’s, and that there were -- there was marijuana
                 paraphernalia also found in the vehicle.

                 Your Honor, I think that there’s sufficient evidence that the
                 defendant was constructively in possession of the marijuana,
                 given that it was on the floorboard in a seat where he was sitting.

       The State did so despite the fact the State never alleged Defendant committed this

       offense in violation of his probation.




       1 A critical reviewer of this case may well wonder why—if the State was going to allege

       possession of anything on a “constructive possession” theory on these facts—it didn’t allege
       constructive possession of marijuana.
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                                        HAMPSON, J., dissenting



¶ 34         Compounding this confusion as to what offense or offenses Defendant was

       alleged to have committed, in rendering its decision, the trial court did not specifically

       identify what offenses it found Defendant had committed in violation of his probation,

       stating: “The Court finds the respondent has unlawfully, willfully and without legal

       justification violated the terms and conditions of his probation as is alleged in the

       violation reports, and the Court specifically finds that he’s committed subsequent

       offenses.” The trial court’s Judgments also do not independently identify the offenses

       found to have been committed instead reciting violations of paragraph numbers of

       the violation reports. As such, there is a legitimate question on the existing record

       as to whether the trial court relied on a non-alleged offense of possession of

       marijuana, in whole or in part, to find grounds to revoke Defendant’s probation. If

       the trial court—as a result of the State’s representations—was acting under a

       misapprehension Defendant was alleged to have possessed the marijuana, this would

       constitute an abuse of discretion. At a minimum, this would require a remand to the

       trial court to clarify its ruling and determine whether the evidence supported a

       finding Defendant committed the offenses he was actually alleged to have committed.

                                                  II.

¶ 35         Indeed, the majority opinion focuses its analysis of whether the evidence

       supports the trial court’s Judgments revoking probation—quite correctly—only on

       possession of the Schedule II and IV substances.           As the majority articulates:
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                                       HAMPSON, J., dissenting



       “Possession of any item may be actual or constructive.” State v. Alston, 131 N.C. App.

       514, 519, 508 S.E.2d 315, 318 (1998). The evidence here does not support a theory of

       actual possession of the Schedule II and IV substances by Defendant. Nobody in this

       case argues it does.

¶ 36         Instead, the State contends—and the majority agrees—the evidence was

       adequate to support a finding Defendant constructively possessed the Schedule II and

       IV substances. The law related to constructive possession applicable to this case was

       well-summarized by our prior decision in State v. Ferguson:

                 “A person is in constructive possession of a thing when, while not
                 having actual possession, he has the intent and capability to
                 maintain control and dominion over that thing.” State v. Beaver,
                 317 N.C. 643, 648, 346 S.E.2d 476, 480 (1986) (citing State v.
                 Williams, 307 N.C. 452, 455, 298 S.E.2d 372, 374 (1983)). “Unless
                 a defendant has exclusive possession of the place where the
                 contraband is found, the State must show other incriminating
                 circumstances sufficient for the jury to find a defendant had
                 constructive possession.” State v. Miller, 363 N.C. 96, 99, 678
                 S.E.2d 592, 594 (2009) (citing State v. Matias, 354 N.C. 549, 552,
                 556 S.E.2d 269, 271 (2001)). As a general rule, “ ‘mere proximity
                 to persons or locations with drugs about them is usually
                 insufficient, in the absence of other incriminating circumstances,
                 to convict for possession.’ ” State v. Weems, 31 N.C. App. 569, 570,
                 230 S.E.2d 193, 194 (1976) (citations omitted). Accordingly, “the
                 mere presence of the defendant in an automobile in which illicit
                 drugs are found does not, without more, constitute sufficient proof
                 of his possession of such drugs.” Weems, 31 N.C. App. at 571, 230
                 S.E.2d at 194.

       204 N.C. App. 451, 459–60, 694 S.E.2d 470, 477 (2010).
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                                         HAMPSON, J., dissenting



¶ 37          In this case, the evidence, without more, simply does not support a finding

       Defendant was in constructive possession of the Schedule II and IV substances found

       inside of a pill bottle inside of a glove box of a car not owned nor operated by

       Defendant.2 In its analysis, the majority correctly summarizes the salient evidence

       offered by the State: Gooch was pulled over for suspected driving while impaired and

       Defendant was Gooch’s passenger; Defendant was removed from the vehicle due to

       “a lot of excessive moving in the passenger side”; Defendant was characterized as

       “unsteady on his feet” and “falling in and out”; after Defendant was removed from the

       car, a search of the vehicle revealed a pill bottle containing Xanax, Clonazepam, and

       Oxycodone inside the glove box.3 Additionally, the evidence showed the car was not

       registered to Defendant but rather Gooch’s grandmother and there was no evidence

       Defendant had or exercised any ownership of the car.

¶ 38          First, the mere fact Defendant was a passenger in the car is, by itself,


              2   Additionally, I am not convinced there is any difference between Defendant’s
       proffered “substantial evidence” standard and the majority’s “any competent evidence
       standard,” but to the extent there is any daylight between the two, I reach the same
       conclusion: there is no competent evidence to support a finding of constructive possession.
               3 I note with appreciation that the majority does not rely on the evidence of the out-

       of-court statements from Gooch concerning who owned the substances in the car. The State
       offering those out-of-court statements to prove the substances belonged, in whole or part, to
       Defendant constitutes inadmissible hearsay testimony. Even though Defendant did not
       object to these statements, we also presume the trial court did not rely on them either. See
       State v. Allen, 322 N.C. 176, 185, 367 S.E.2d 626, 631 (1988) (“The presumption in non-jury
       trials is that the court disregards incompetent evidence in making its decision.”).
                                         STATE V. BRADLEY

                                           2022-NCCOA-163

                                       HAMPSON, J., dissenting



       insufficient to establish constructive possession. Id. Second, the two additional

       incriminating circumstances were: (1) Defendant was removed from the car for

       “excessive moving” and (2) he was unsteady on his feet and appeared to be “falling in

       and out.”

¶ 39         Here, there was no evidence Defendant’s “excessive moving” had any

       connection to the pill bottle or was an attempt to conceal the substances. In prior

       cases, the suspicious or nervous behavior conduct indicated “an awareness of the

       drugs, such as efforts at concealment or behavior suggesting a fear of discovery.”

       State v. Turner, 168 N.C. App. 152, 156, 607 S.E.2d 19, 22–23 (2005) (evidence two

       suspects were passing a tube later determined to contain cocaine between each other

       under a blanket); see also State v. McNeil, 359 N.C. 800, 801–02, 617 S.E.2d 271, 272–

       73 (2005) (defendant acted nervous, ran from police, and admitted possession of some

       of the drugs that police found); State v. Butler, 356 N.C. 141, 147–48, 567 S.E.2d 137,

       141 (2002) (taxicab driver felt defendant “struggling” in the backseat behind him and

       pushing against the front seat, and the police found drugs under the seat 12 minutes

       later); State v. Harrison, 14 N.C. App. 450, 450–51, 188 S.E.2d 541, 542 (1972) (officer

       noticed the defendant moving around on the back seat and partially concealing a

       brown envelope with his hand). In this case, there was no evidence that Defendant’s

       excessive moving indicated any awareness of the Schedule II or IV substances in the

       glove box or that he was attempting to conceal the Schedule II and IV substances.
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                                          2022-NCCOA-163

                                      HAMPSON, J., dissenting



       Nor was there evidence Defendant was evasive or non-compliant with law

       enforcement.

¶ 40         Next, the evidence Defendant was unsteady on his feet and “falling in and out”

       appears to be used as circumstantial evidence that Defendant was impaired.

       However, there is no evidence Defendant’s impairment was the result of ingesting

       Schedule II or IV substances. For example: there was no evidence of a blood test, no

       evidence Defendant’s behavior was consistent with one impaired by the Schedule II

       and/or IV substances, or any evidence from which such impairment might be inferred.

       Any speculation Defendant was impaired by the Schedule II and IV substances and

       thus, Defendant was “in possession” of those substances is just that: speculation. See

       State v. Angram, 270 N.C. App. 82, 87, 839 S.E.2d 865, 868 (2020) (“Although

       circumstantial evidence may be sufficient to prove a crime, pure speculation is not,

       and the State's argument is based upon speculation.”).

¶ 41         Thus, because the evidence of Defendant’s “constructive possession” of

       Schedule II or IV substances is nothing more than speculative, there is no competent

       evidence to support a finding Defendant committed the offenses of possession of a

       Schedule II and Schedule IV substances. Thus, the trial court erred in finding

       Defendant violated conditions of his probation by committing the subsequent offenses

       alleged in the violation reports. Consequently, the trial court erred in entering its

       Judgments, revoking Defendant’s probation, and activating his sentences.
                                 STATE V. BRADLEY

                                  2022-NCCOA-163

                               HAMPSON, J., dissenting



Accordingly, the trial court’s Judgments should be reversed.
